              Case 2:23-cv-01495-JHC Document 106 Filed 10/27/23 Page 1 of 3




 1                                                               THE HONORABLE JOHN H. CHUN

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     FEDERAL TRADE COMMISSION,                             Case No. 2:23-cv-01495-JHC
10   STATE OF NEW YORK, STATE OF
     CONNECTICUT, COMMONWEALTH OF                          DEFENDANT’S UNOPPOSED
11   PENNSYLVANIA, STATE OF DELAWARE,                      MOTION TO SEAL EXHIBIT B TO
     STATE OF MAINE, STATE OF MARYLAND,
12                                                         THE DECLARATION OF CAROL J.
     COMMONWEALTH OF MASSACHUSETTS,                        PRUSKI
     STATE OF MICHIGAN, STATE OF
13
     MINNESOTA, STATE OF NEVADA, STATE                     NOTE ON MOTION CALENDAR:
14   OF NEW HAMPSHIRE, STATE OF NEW                        October 27, 2023
     JERSEY, STATE OF NEW MEXICO, STATE
15   OF OKLAHOMA, STATE OF OREGON,
     STATE OF RHODE ISLAND, and STATE OF
16   WISCONSIN,
17
                            Plaintiffs,
18
            v.
19
     AMAZON.COM, INC., a corporation,
20

21                          Defendant.

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23                              I.        INTRODUCTION & BACKGROUND

24          Pursuant to Local Civil Rule 5(g), Defendant Amazon.com, Inc. (“Amazon”) respectfully

25   requests that the Court seal Exhibit B to the Declaration of Carol J. Pruski (“Pruski Decl.”), filed

26   in support of Amazon’s Unopposed Motion to Seal Commercially Sensitive Information

     UNOPPOSED MOTION TO SEAL                                             MORGAN, LEWIS & BOCKIUS LLP
     (Case No. 2:23-cv-01495-JHC) - 1                                                  ATTORNEYS AT LAW
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              Case 2:23-cv-01495-JHC Document 106 Filed 10/27/23 Page 2 of 3




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     Contained in the Complaint (“Motion to Seal”). Exhibit B is a partially unredacted version of the
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     Complaint that is currently temporary seal, with highlighting to show Amazon’s proposed
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     redactions. As such, publicly filing it on the docket would therefore reveal what Amazon
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     contemporaneously moves the Court to seal. On October 27, 2023, counsel for Plaintiffs,
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     including Daniel Schwartz, Danielle Quinn, Lily Rudy, Daniel Principato, and Tim Smith—and
 6
     counsel for Amazon—Kevin Hodges and Carol J. Pruski—conferred via email regarding the need
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     to file Exhibit B under seal. Plaintiffs do not oppose Amazon’s Motion.
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                                    II.   ARGUMENT & AUTHORITY
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            As outlined in Amazon’s Motion to Seal, Courts have long recognized that “business
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     information that might harm a litigant’s competitive standing” should be sealed. Nixon v. Warner
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     Commc’ns, Inc., 435 U.S. 589, 598 (1978). While “[t]here is a strong presumption of public access
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     to the court’s files,” LCR 5(g), that presumption may be overcome when a party presents
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     compelling reasons for maintaining confidentiality that outweights the public’s interest in
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     disclosure. Kamakana v. City & Cty. Of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). Publicly
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     disclosing the information contained in Exhibit B—namely, the material Amazon seeks to
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     permanently seal in Plaintiffs’ Complaint—would force Amazon to disclose highly confidential
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     and competitively sensitive information which could cause significant harm to Amazon, as its
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     competitors would gain access to Amazon’s proprietary internal processes and its confidential
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     business metrics. See Motion to Seal, Section III.B; LCR 5(g)(3).
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                                           III.   CONCLUSION
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            For the foregoing reasons, Amazon respectfully requests that Exhibit B to the Pruski
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     Declaration be permanently sealed.
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     UNOPPOSED MOTION TO SEAL                                            MORGAN, LEWIS & BOCKIUS LLP
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              Case 2:23-cv-01495-JHC Document 106 Filed 10/27/23 Page 3 of 3




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            DATED this 27th day of October, 2023.
 2

 3                                                  I certify that this memorandum contains 306
                                                    words, in compliance with the Local Civil Rules.
 4

 5                                                  MORGAN, LEWIS & BOCKIUS LLP
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     UNOPPOSED MOTION TO SEAL                                         MORGAN, LEWIS & BOCKIUS LLP
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